872 F.2d 416Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Timothy Carness AUTRY, Plaintiff-Appellant,v.FEDERAL BUREAU OF INVESTIGATION, William H. Webster, WilliamJ. Bennett, Donald D. Engen, Superintendent, U.S.Printing Office, Defendants-Appellees.
    No. 88-6839.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 31, 1989.Decided March 24, 1989.
    
      Timothy Carness Autry, appellant pro se.
      Rudolf A. Renfer, Jr., Office of the United States Attorney, for appellees.
      Before WIDENER and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Timothy Autry appeals the district court's order granting the defendants an extension of time to file a reply in Autry's Bivens -type action.   Bivens v. Six Unknown Named Agents of Fed.  Bureau of Narcotics, 403 U.S. 388 (1971).  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the dispositive issues have been decided authoritatively.
    
    
      5
      DISMISSED.
    
    